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Counsel for Plaintiff

                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
DICKSTEIN SHAPIRO LLP                      )
                                           )
      Plaintiff,                           )
                                           )
v.                                         ) Case No. 1:08-cv-00226-PLF
                                           )
DEPARTMENT OF DEFENSE, et al.,             )
                                          )
      Defendants.                         )
__________________________________________)

               PLAINTIFF’S CROSS-MOTION FOR IN CAMERA REVIEW

           In connection with its opposition to Defendants’ Motion for Summary Judgment in

this Freedom of Information Act (“FOIA”) case, Plaintiff Dickstein Shapiro LLP hereby moves

this Court for an order, pursuant to 5 U.S.C. § 552(a)(4)(B), granting in camera review of the

records Defendants have withheld from disclosure. In camera review is necessary in this case to

enable the Court to evaluate the applicability of Defendants’ claimed FOIA exemptions.

           In support of this motion, Plaintiff relies upon the accompanying memorandum of

points and authorities and all of the Court’s files and records in this case, including Defendants’

Statement of Material Facts and Vaughn indices and declarations. A proposed order is attached.




                                                                                     DSMDB-2499206v01
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Dated: September 22, 2008                 Respectfully submitted,

                                          DICKSTEIN SHAPIRO LLP


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